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    United States Court of Appeals
        for the Federal Circuit
                  ______________________

                 SAS INSTITUTE, INC.,
                   Plaintiff-Appellant

                             v.

          WORLD PROGRAMMING LIMITED,
                 Defendant-Appellee
               ______________________

                        2021-1542
                  ______________________

    Appeal from the United States District Court for the
 Eastern District of Texas in No. 2:18-cv-00295-JRG, Chief
 Judge J. Rodney Gilstrap.
                  ______________________

                  Decided: April 06, 2023
                  ______________________

     DALE M. CENDALI, Kirkland & Ellis LLP, New York,
 NY argued for plaintiff-appellant. Also represented by ARI
 LIPSITZ, JOSHUA L. SIMMONS; RAYMOND BENNETT, PRESSLY
 M. MILLEN, Womble Bond Dickinson (US) LLP, Raleigh,
 NC; CHRISTIAN E. MAMMEN, San Francisco, CA;

    JEFFREY A. LAMKEN, MoloLamken LLP, Washington,
 DC, argued for defendant-appellee. Also represented by
 CALEB HAYES-DEATS; ELIZABETH CLARKE, EUGENE ALEXIS
 SOKOLOFF, Chicago, IL; BRADLEY WAYNE CALDWELL,
 WARREN JOSEPH MCCARTY, III, Caldwell Cassady & Curry,
 Dallas, TX.
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     ANNETTE LOUISE HURST, Orrick, Herrington & Sutcliffe
 LLP, San Francisco, CA, for amici curiae Oracle Corpora-
 tion, Mathworks, Inc. Also represented by ANDREW D.
 SILVERMAN, New York, NY.

     BRIDGET ASAY, Stris & Maher LLP, Montpelier, VT, for
 amici curiae Lucas Layman, Mark Sherriff, Laurie Wil-
 liams. Also represented by ELIZABETH BRANNEN, Los An-
 geles, CA.

    ROBERT WILLIAM CLARIDA, Reitler Kailas & Rosenblatt
 LLC, New York, NY, for amici curiae Sandra Aistars, Jon
 Garon, Hugh Hansen, J. Devlin Hartline, S. Todd Herre-
 man, Loren Mulraine, Christopher Newman, Eric Priest,
 Mark F. Schultz, Steven Tepp.

     NANCY E. WOLFF, Cowan, DeBaets, Abrahams & Shep-
 pard LLP, New York, NY for amici curiae American Photo-
 graphic Artists, American Society of Media Photographers,
 Authors Guild, Inc., Digital Media Licensing Association,
 Dramatists Guild of America, Romance Writers of Amer-
 ica, Songwriters Guild of America, Textbook & Academic
 Authors Association. Also represented by SARA GATES,
 Dentons US LLP, New York, NY.

    SARANG DAMLE, Latham & Watkins LLP, Washington,
 DC, for amicus curiae Ralph Oman. Also represented by
 TYCE R. WALTERS.

     MATTHEW S. HELLMAN, Jenner & Block LLP, New
 York, NY for amicus curiae Copyright Alliance. Also rep-
 resented by GIANNI P. SERVODIDIO.

     JEFFREY THEODORE PEARLMAN, Gould School of Law,
 University of Southern California, Los Angeles, CA, for
 amici curiae Harold Abelson, Guido van Rossum, Jon Bent-
 ley, Matthew Bishop, Joshua Bloch, Gilad Bracha, Daniel
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 Bricklin, Frederick Brooks, R.G.G. Cattell, David Clark,
 William Cook, Thomas H. Cormen, Miguel de Icaza, L. Pe-
 ter Deutsch, Whitfield Diffie, David L. Dill, Dawson Eng-
 ler, Bob Frankston, Neal Gafter, Erich Gamma, Andrew
 Glover, Allan Gottlieb, Robert Harper, Maurice Herlihy,
 Tom Jennings, Alan Kay, Brian Kernighan, David Klaus-
 ner, Kin Lane, Ed Lazowska, Doug Lea, Bob Lee, Harry
 Lewis, Douglas McIlory, Paul Menchini, James H. Morris,
 Peter Norvig, Martin Odersky, David Patterson, Tim Pei-
 erls, Curtis Schroeder, Robert Sedgewick, Mary Shaw, Al-
 fred Z. Spector, Michael Stonebreaker, Ivan E. Sutherland,
 Andrew Tanenbaum, Brad Templeton, Andries van Dam,
 John Villasenor, Jan Vitek, James H. Waldo, Daniel S.
 Wallach, Frank Yellin.

     JONATHAN BAND, Jonathan Band PLLC, Washington,
 DC, for amicus curiae Computer & Communications Indus-
 try Association. Also represented by MATTHEW SCHRUERS,
 ALEXANDRA STERNBURG, Computer & Communications In-
 dustry Association, Washington, DC.

    MICHAEL BARCLAY, Electronic Frontier Foundation,
 San Francisco, CA, for amicus curiae Electronic Frontier
 Foundation. Also represented by CORYNNE MCSHERRY.

     JOSEPH GRATZ, Durie Tangri LLP, San Francisco, CA
 for amicus curiae GitHub, Inc. Also represented by
 SAMUEL ZEITLIN.

     ERIK STALLMAN, Samuelson Law, Technology & Public
 Policy Clinic, University of California, Berkeley School of
 Law, Berkeley, CA, for amici curiae Timothy K. Armstrong,
 Pamela Samuelson, Clark D. Asay, Jonathan Askin, Patri-
 cia Aufderheide, Derek E. Bambauer, Ann Bartow, James
 Bessen, Mario Biagioli, James Boyle, Oren Bracha, Dan L.
 Burk, Michael A. Carrier, Michael Carroll, Bernard Chao,
 Jorge L. Contreras, Christine Haight Farley, William T.
 Gallagher, Shubha Ghosh, Jim Gibson, James
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 Grimmelmann, Amy L. Landers, Edward Lee, Mark A.
 Lemley, Yvette Joy Liebesman, Lee Ann Wheelis
 Lockridge, Lydia Pallas Loren, Stephen McJohn, Mark P.
 McKenna, Michael J. Meurer, Timothy Murphy, Tyler T.
 Ochoa, Aaron Perzanowski, Cherly B. Preston, Jerome H.
 Reichman, Michael Rustad, Matthew Sag, Joshua D.
 Sarnoff, Niels Schaumann, Jason Michael Schultz, Roger
 V. Skalbeck, Elizabeth Townsend Gard, Rebecca Tushnet,
 Jennifer M. Urban. Also represented by CHARLES DUAN,
 Washington, DC.
                  ______________________

     Before NEWMAN, REYNA, and WALLACH, Circuit Judges.
      Opinion for the court filed by Circuit Judge REYNA.
      Dissenting opinion filed by Circuit Judge NEWMAN.
 REYNA, Circuit Judge.
      SAS Institute, Inc. filed suit in the United States Dis-
 trict Court for the Eastern District of Texas alleging,
 among other claims, nonliteral copyright infringement of
 its software by World Programming Limited. Both parties
 moved for summary judgment on non-infringement and
 copyrightability. The district court decided to hold a spe-
 cial hearing to assist it in deciding the scope of protection
 provided under copyright law to the elements asserted by
 SAS. It ordered the parties to submit supplemental brief-
 ing on the issue. The district court then reached several
 determinations. The district court first concluded that SAS
 demonstrated that it possessed valid copyright registra-
 tions covering SAS’s asserted software. The district court
 then determined that World Programming provided evi-
 dence that showed the software program elements were not
 within the scope of protection under copyright law. Based
 on World Programing’s evidentiary showing, the district
 court required SAS to demonstrate that its asserted pro-
 gram elements were copyrightable. Applying the abstrac-
 tion-filtration-comparison test, the district court
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 determined that SAS failed to establish copyrightability. It
 rejected SAS’s expert’s report and dismissed the suit with
 prejudice. SAS appeals the judgment of the district court.
 We affirm.
                          SAS SOFTWARE
     Appellant SAS Institute, Inc. (“SAS”) creates and sells
 a suite of software (“SAS System”) used for data access,
 data management, data analysis, and data presentation.
 SAS Inst. Inc. v. World Programming Ltd., 496 F. Supp. 3d
 1019, 1022 (E.D. Tex. 2020) (“EDTX Action”). The SAS
 System allows users to input user-written programs into
 the SAS System’s graphical user interface to complete an-
 alytics tasks. Id. at 1022–23. Users of the SAS System
 write commands in a programming language (the “SAS
 Language”). Id. at 1023. An earlier version of the SAS
 System is in the public domain. Id. SAS has copyright reg-
 istrations that cover various aspects of the SAS System.
 Appellant’s Br. 21; J.A. 281.
     World Programming Limited (“WPL”) created a com-
 petitor to the SAS System, the World Programming System
 (“WPS System”). EDTX Action, at 1023–24. The WPS Sys-
 tem also uses the SAS Language to allow users to run user-
 written programs to complete analytics tasks such as data
 access, data management, data analysis, and data presen-
 tation. Id.
     On July 18, 2018, SAS filed suit against WPL in the
 district court for the Eastern District of Texas. The com-
 plaint alleged a number of claims, including copyright in-
 fringement of the SAS System and SAS user manuals.
 This appeal, however, is limited to three issues. First, SAS
 argues that the district court’s copyrightability determina-
 tion is erroneous as a matter of law. Next, SAS asserts that
 the district court abused its discretion in its use of a “spe-
 cial hearing” to determine copyrightability. Finally, SAS
 argues that the district court abused its discretion when it
 rejected SAS’s expert report.        As shown below, the
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 resolution of the three issues rests on the question of copy-
 rightability.
     The term “copyrightability” has different meanings. A
 commonly accepted definition, and the one herein adopted,
 is whether the specific elements of a copyrighted work that
 are asserted in a copyright infringement action fall within
 the scope of protection extended to that particular work un-
 der copyright law. The fields of computer software and
 computer programs are recognized and addressed as a “lit-
 erary work” in the U.S. Constitution and the Copyright
 Act. 1
           U.S. CONSTITUTION AND THE COPYRIGHT ACT
      Like the Patent and the Tariff, the Copyright enjoys a
 provenance stretching back to the birth of this nation. Ar-
 ticle I, Section 8 of the U.S. Constitution secures “for lim-
 ited Times to Authors and Inventors the exclusive Rights
 to their respective Writings and Discoveries.” For purposes
 of this appeal, it is generally accepted that software coders
 are “authors” and that their respective works are “writ-
 ings.” See generally, Oracle America, Inc. v. Google Inc.,
 750 F.3d 1339, 1368 (Fed. Cir. 2014).
      The Copyright Act protects “original works of author-
 ship fixed in any tangible medium of expression.” 17
 U.S.C. § 102(a). To explain the scope of the term “works of
 authorship,” the Act sets forth a non-exclusive statutory
 list of categories of works of authorship covered by the Act.
 The first category on this non-exclusive list is “literary
 works.” Id. at § 102(a)(1).
    The statutory definition of “literary works” embraces
 computer programs:




     1     Copyright Act of 1976, 17 U.S.C. § 101 et seq.
 (1976).
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     “Literary works” are works, other than audio-
     visual works, expressed in words, numbers, or
     other verbal or numerical symbols or indicia, re-
     gardless of the nature of the material objects,
     such as books, periodicals, manuscripts,
     phonorecords, film, tapes, disks, or cards, in
     which they are embodied.
 17 U.S.C. § 101. Further, the House Report for the 1976
 Act explicitly includes computer programs in its definition
 of “literary works.”
     The term “literary works” does not connote any cri-
     terion of literary merit or qualitative value: it in-
     cludes . . . computer data bases, and computer
     programs to the extent that they incorporate au-
     thorship in the programmer’s expression of original
     ideas, as distinguished from the ideas themselves.
 H.R. Rep. No. 1476, 94th Cong., 2d Sess. 54 (1976), re-
 printed in 1976 U.S.C.C.A.N. 5659, 5667. As the House
 Report makes clear, copyright protection extends only to
 the expression of an idea, not to the underlying idea itself.
 Id. at 5670; see also Mazer v. Stein, 347 U.S. 201, 217 (1954)
 (“Unlike a patent, a copyright gives no exclusive right to
 the art disclosed; protection is given only to the expression
 of the idea—not the idea itself.”). Thus, whether a partic-
 ular component or element of a program is protected by a
 copyright depends on whether it qualifies as an expression
 of an idea, rather than the idea itself. Gates Rubber Co. v.
 Bando Chem. Indus., Ltd., 9 F.3d 823, 836 (10th Cir. 1993)
 (citing Harper & Row Publishers, Inc. v. Nation Enters.,
 471 U.S. 539, 547 (1985)).
      Additionally, other doctrines of copyright law detail
 what elements are not protectable, including scènes à faire
 elements, material in the public domain, factual material,
 and elements under the merger doctrine. Computer Assocs.
 Int’l, Inc. v. Altai, Inc., 982 F.2d 693, 703, 706–10 (2d Cir.
 1992); Gates Rubber Co., 9 F.3d at 837.
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      With these doctrines in mind, the court is tasked with
 determining the scope of copyright protection. For com-
 puter programs, this determination often involves as-
 sessing which input and output formats of a computer
 program are copyrightable, and which are not. Eng’g Dy-
 namics, Inc. v. Structural Software, Inc., 26 F.3d 1335,
 1347 (5th Cir. 1994). The literal elements of computer pro-
 grams, for example: source and object codes, can be the sub-
 ject of copyright protection. See, e.g., Altai, 982 F.2d at 702.
 As a general matter, and to varying degrees, copyright pro-
 tection can extend beyond literal elements to nonliteral el-
 ements. Id. at 701.
     This appeal involves only nonliteral elements of the
 SAS System. The nonliteral elements of a computer pro-
 gram are those aspects that are not reduced to written
 code. Id. at 696, 701–703. These elements include the pro-
 gram architecture, structure, sequence and organization,
 operational modules, and user interface. Eng’g Dynamics,
 26 F.3d at 1341. Using a literary novel as an analogy, the
 novel’s written words would be the literal elements (e.g.,
 code) and the organization of the chapters, characters, and
 plot would be the nonliteral elements. But concluding that
 nonliteral elements of a computer program can be pro-
 tected by copyright does not end a court’s analysis: it must
 determine the scope of such protection. Altai, 982 F.2d at
 703. The scope of protection is “not constant” across all lit-
 erary works. Eng’g Dynamics, 26 F.3d at 1348. Nor is it
 necessarily constant across all elements in a single work.
     As one moves away from the literal elements to more
 general levels of a computer program, it becomes “more dif-
 ficult” to distinguish between unprotectible ideas, pro-
 cesses, methods or functions, on the one hand, and
 copyrightable expression, on the other. Id. at 1341; see also
 Johnson Controls, Inc. v. Phoenix Control Sys., Inc., 886
 F.2d 1173, 1175 (9th Cir. 1989) (“Whether a particular
 component of a program is protected by a copyright
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 depends on whether it qualifies as an ‘expression’ of an
 idea, rather than the idea itself.” (cleaned up)).
    Court decisions vary in the methods used to identify
 and analyze copyrightability for nonliteral elements of
 computer programs. Eng’g Dynamics, 26 F.3d at 1341. The
 analytical framework utilized by the courts may vary to ac-
 commodate each case’s facts. Id. at 1343.
      Various circuits, including the Second, Fifth, and
 Tenth Circuits, have adopted the abstraction-filtration-
 comparison test, or method, to determine the scope of cop-
 yright protection for computer programs, including their
 nonliteral elements. Altai, 982 F.2d at 706–11 (2d Cir.
 1992); Eng’g Dynamics, 26 F.3d at 1335 (5th Cir. 1994);
 Gates Rubber, 9 F.3d at 823, 834 (10th Cir. 1993); Com-
 puter Mgmt. Assistance Co. v. Robert F. DeCastro, Inc., 220
 F.3d 396, 399–400 (5th Cir. 2000). As the name implies,
 the abstraction-filtration-comparison method involves
 three steps. Altai, 982 F.2d at 706. First, a court breaks
 down the allegedly infringed program into its constituent
 structural parts—abstraction. Id. This step “help[s] a
 court separate ideas [and processes] from expression and
 eliminate . . . those portions of the work that are not eligible
 for protection.” Eng’g Dynamics, 26 F.3d at 1343. Second,
 the court sifts out all non-protectable material—filtration.
 Id. at 1344–45; see also Altai, 982 F.2d at 707–08 (describ-
 ing this step as “examining the structural components at
 each level of abstraction” and “defining the scope of plain-
 tiff's copyright”). And, third, the trier of fact compares any
 remaining “core of protectable expression” with the alleg-
 edly infringing program to determine if there is in fact a
 substantial similarity—comparison. Altai, 982 F.2d at
 710–11.
      Although the underling suit is a copyright infringe-
 ment action, this appeal does not reach the final copyright
 infringement analysis, or the third step of the abstraction-
 filtration-comparison test. Rather, the focus of the appeal
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  is on the question of copyrightability and, in particular, the
  filtration step of the abstraction-filtration-comparison test.
                           PROCEDURE
      SAS’s action initially involved multiple claims. 2 How-
  ever, the claims of patent infringement, copyright



       2   This is not the first litigation between these parties
  relating to the SAS System. Around September 2009, SAS
  filed suit against WPL in the United Kingdom and in the
  United States District Court for the Eastern District of
  North Carolina (“EDNC”). Appellee’s Br. 11. In the UK
  litigation, SAS asserted copyright infringement. Id. The
  UK High Court determined that issues relating to the legal
  protection of computer programs needed interpretation of
  E.U. Law and sent those questions to the Court of Justice
  of the European Union. SAS Inst. Inc. v. World Program-
  ming Ltd., 874 F.3d 370, 376 (4th Cir. 2017). The Court
  found that neither the functionality of a computer program
  nor the format of data files is copyright protectable but re-
  production of a program protected by copyright is capable
  of constituting an infringement action. Id. Based on this
  ruling, the UK courts found that WPL did not violate Eu-
  ropean copyright law. Id. In the EDNC action, SAS as-
  serted copyright infringement, breach of license agreement
  claims for fraudulent inducement, tortious interference
  with contract, tortious interference with prospective busi-
  ness advantage, and violation of the North Carolina Unfair
  and Deceptive Trade Practices Act (UDTPA). SAS Inst.
  Inc. v. World Programming Ltd., 874 F.3d 370, 377 (4th
  Cir. 2017) (“SAS I”). The district court granted summary
  judgment “to WPL” on SAS’s claims for copyright infringe-
  ment, tortious interference with contract, and tortious in-
  terference with prospective economic advantage. Id. at
  377; see also Appellee’s Br. 13. At trial, on the issues re-
  lated to contract and tort claims, the jury found “WPL
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  infringement of SAS user manuals, and copyright infringe-
  ment as to the literal elements of the SAS System, were
  dismissed with prejudice by the parties’ joint stipulation.
  Only SAS’s claim for nonliteral copyright infringement of
  the SAS System remained, which is the only claim at issue
  on this appeal.
      Both SAS and WPL moved for summary judgment on
  the nonliteral copyright infringement claim. As to this
  claim, SAS does not contend that WPL copied any line of
  SAS code or any other literal element of the SAS System.
  EDTX Action, at 1022; Appellee’s Br. 45. Instead, SAS con-
  tends that WPL infringes by copying the functions or re-
  sults of its system. Id.; see Appellant’s Br. 48. More
  specifically, SAS alleges WPL copied its “Input Formats,”
  which are the fundamentals (vocabulary and syntax) used
  in the SAS System. EDTX Action, at 1022. SAS also claims
  WPL copied its “Output Designs,” which are the result of
  applying Input Formats to user data. Id.
      Addressing the parties’ cross-motions for summary
  judgment, the district court concluded that it first needed
  to determine the copyrightability of the asserted materials
  to avoid “injecting copyrightability into the jury trial and
  unavoidably making it part of the jury’s infringement anal-
  ysis.” To assist in its inquiry, the district court requested
  additional briefing and argument on a narrow question:
  what is the “core protectable expression” of the SAS System
  that WPL allegedly copied. To clarify this issue, the parties



  liable for fraudulent inducement and UDPTA violations”
  and the “total damages awarded to after trebling was
  $79,129,905.” SAS I, at 377. The Fourth Circuit affirmed
  in part and vacated the copyrightability ruling as moot.
  SAS Inst. Inc. v. World Programming Ltd., 952 F.3d 513,
  519–520, 531 (4th Cir. 2020) (“SAS II”). On remand, the
  district court dismissed SAS’s copyright claims without
  prejudice. Appellee’s Br. 13.
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  were asked to put forward competing evidence directed to
  the abstraction and filtration steps of the abstraction-fil-
  tration-comparison test. 3
      After the parties submitted the requested briefing, the
  district court held a “Copyrightability Hearing.” EDTX Ac-
  tion, at 1020–21. In assessing the copyrightability of the
  nonliteral elements of the SAS System that SAS alleges
  were copied, the district court concluded that there was no
  clear guidance in the Fifth Circuit on the “burden of proof
  in the filtration analysis of copyrightability.” Id. at 1026.
  As a result, the district court elected to adopt the frame-
  work established by the Eleventh Circuit in Compulife
  Software Inc. v. Newman, 959 F.3d 1288 (11th Cir. 2020).
  Id. Within that framework, once a plaintiff establishes
  that he or she holds a “valid copyright and that the defend-
  ant engaged in factual copying,” the defendant may come
  forward with evidence that the allegedly copied material is
  in fact copyright unprotectable. Id. at 1026–27 (citing
  Compulife, 959 F.3d at 1305–06). The defendant must
  identify the “species of unprotectability” alleged and pre-
  sent supporting evidence where appropriate. Id. Once
  done, the burden of proof shifts back to the copyright holder


       3  The district court asked SAS to “narrow” its case
  regarding copyrightability, explaining that the case had “a
  tremendous amount of work” before it would be ready to go
  before the jury, because the jury would not fairly be able to
  compare the works. J.A. 3315–16, 13659–61; Appellee’s Br.
  18–19. The court also explained that a Rule 56 summary
  judgment motion would not be proper because, in asking
  whether there is a material question of fact, it needed first
  to address whether copyrightability exists in the asserted
  works as a matter of law. Because SAS did not show what
  identifiable protectable elements remained in the SAS Sys-
  tem, even after the court instructed SAS to do so, the court
  dismissed the case. See, e.g., Appellee’s Br. 33–34 (collect-
  ing cases).
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  to establish precisely which parts of its asserted work are,
  in fact, protectable. Id. (citing Compulife, 959 F.3d at
  1306).
      Applying this framework, the district court determined
  that SAS satisfied its initial burden on copyrightability by
  presenting evidence of valid copyright registrations to the
  SAS System. Id. at 1027. Next, the district court deter-
  mined that WPL satisfied its burden to show that elements
  of the SAS System were not protectable. Id.
       For example, WPL established that an earlier version
  of the SAS System, “SAS 76,” was in the public domain.
  Id.; see also S & H Computer Sys., Inc. v. SAS Inst., Inc.,
  568 F. Supp. 416, 418–19 (M.D. Tenn. 1983). WPL also
  demonstrated that many of the Input Formats and Output
  Designs in the current SAS System are identical, or nearly
  identical, to those in SAS 76, and, as such, should be fil-
  tered. EDTX Action, at 1023. WPL demonstrated that the
  SAS Language should be filtered because it is open and free
  for public use. Id. at 1027–28. WPL’s expert opined that
  the allegedly copied materials contained unprotectable
  open-source elements; factual and data elements; elements
  not original to SAS; mathematical and statistical elements;
  process, system, and method elements; well-known and
  conventional display elements, such as tables, graphs,
  plots, fonts, colors, and lines; material for which SAS is not
  the author; statistical analysis; scènes à faire elements;
  and short phrase elements. Id. at 1028. Accordingly, the
  district court found that WPL provided ample evidence to
  rebut SAS’s prima facie evidence of duly issued copyright
  registrations and required SAS to show which specific ele-
  ments of the SAS System that SAS alleged were copied are
  protectable. Id.
      The district court concluded that SAS failed to show
  that the elements WPL pointed to as unprotectable are in-
  deed entitled to protection or to show the existence and ex-
  tent of any remaining protectable expression that WPL
  copied. Id. at 1028. The district court found that SAS
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  refused to engage in the filtration step and chose instead to
  simply argue that the SAS System was “creative.” Id. at
  1027–28. On this basis, the district court found that SAS
  had not met its burden to show protectability of the as-
  serted materials. Id. at 1028.
       The district court also excluded the opinion of SAS’s ex-
  pert, Dr. James Storer, as unreliable because he did not
  filter out any of the unprotectable elements of the SAS Sys-
  tem. Id. at 1028–29. The district court reasoned that, at
  a minimum, Dr. Storer’s failure to filter out any of the un-
  protectable elements resulted in an improper comparison
  of unprotectable elements to the accused products. Id. The
  district court dismissed the case with prejudice. Id. at
  1029.
      SAS timely appealed. This Court has jurisdiction un-
  der 28 U.S.C. § 1295(a)(1).
                     STANDARD OF REVIEW
      When addressing questions of copyright law, this court
  applies the law which would be applied by the relevant re-
  gional circuit—here, the Fifth Circuit. See Oracle, 750 F.3d
  at 1353 (quoting Atari Games Corp. v. Nintendo of Am.,
  Inc., 897 F.2d 1572, 1575 (Fed. Cir. 1990)). Under Fifth
  Circuit law, legal issues are reviewed de novo. In re Mid-
  S. Towing Co., 418 F.3d 526, 531 (5th Cir. 2005). Copy-
  rightability is generally treated as a legal issue, or as a le-
  gal issue that may involve subsidiary factual findings.
  Oracle, 750 F.3d at 1353 n.3 (collecting cases). Treating
  copyrightability as a question of law is consistent with case
  law. Eng’g Dynamics, 26 F.3d at 1340–41; see also Oracle,
  750 F.3d at 1353 n.3; Yankee Candle Co. v. Bridgewater
  Candle Co., 259 F.3d 25, 34 & n.5 (1st Cir. 2001); Publica-
  tions Int’l, Ltd. v. Meredith Corp., 88 F.3d 473, 478 (7th Cir.
  1996); EDTX Action, at 1022 (citing NIMMER ON COPYRIGHT
  § 12.10). Here, neither the district court nor the parties
  dispute that copyrightability is resolved as a question of
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  law. 4 We also note that the resolution of copyrightability
  rests on interpretation of whether the asserted materials
  are expressions that fall within the scope of copyright
  law—matters that belong to the court. See NIMMER § 12.10
  (“Reasoning from patent law, Judge Easterbrook opines
  that that [copyrightability] decision is for the judge
  alone . . . ”) (citing Pivot Point Int’l, Inc. v. Charlene Prods.
  Inc., 932 F. Supp. 220, 225 & n. 33 (N.D. Ill. 1996) (collect-
  ing cases)). On this basis, we hold that in this case the ul-
  timate issue of copyrightability can be resolved as a
  question of law that we review under a de novo standard.
  BWP Media USA, Inc. v. T & S Software Assocs., Inc., 852
  F.3d 436, 438 (5th Cir. 2017). To be clear, whether copy-
  right infringement has occurred is a factual determination
  that generally can be reached only after the legal determi-
  nation of copyrightability has been made.
      Rulings on expert-testimony admissibility are re-
  viewed in the Fifth Circuit for manifest or “plain and indis-
  putable” error. Guy v. Crown Equip. Corp., 394 F.3d 320,
  325 (5th Cir. 2004). Other evidentiary rulings are reviewed
  “for abuse of discretion.” S. Pac. Transp. Co. v. Chabert,
  973 F.2d 441, 448 (5th Cir. 1992).
                            DISCUSSION
      SAS raises three main issues on appeal. First, SAS
  contends that the district court erred when it required SAS
  to prove that the elements it asserted were copied by WPL
  are entitled to copyright protection. Second, SAS argues
  that the district court erred when it used a


      4    The district court treated copyrightability as “a
  question of law for the Court.” EDTX Action, at 1022. SAS
  asserts “undisputed facts,” and WPL asserts that the dis-
  trict court’s treatment of copyrightability as a question of
  law for the court was proper and notes that SAS identifies
  “no factual disputes.” Appellant’s Br. 47–48; Appellee’s Br.
  59.
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  “Copyrightability Hearing” to assist it reach a copyrighta-
  bility determination. Appellant’s Br. 4, 43–46. Third, SAS
  argues that the court erred in excluding the testimony of
  its technical expert. We address each issue in turn. 5
                        Copyrightability
       SAS contends that the district court legally erred in its
  application of the abstraction-filtration-comparison test.
  According to SAS, it satisfied its evidentiary burden once it
  demonstrated that the SAS System was covered by regis-
  tered copyrights. Further, SAS claims the district court
  erred when it shifted the burden to SAS to establish that
  its asserted elements are protected by copyright law. Ap-
  pellant’s Br. at 38–43. Alternatively, SAS argues that the
  overall selection and arrangement of the Input Format and
  Output Design was protectable. We disagree.
      We conclude that the overall analytical framework
  adopted by the district court is consistent with established
  precedent. The plaintiff in a copyright action must respond
  to any proof advanced by the defendant. EDTX Action, at
  1026. SAS’s preliminary showing that it has valid, regis-
  tered copyrights directed to aspects of the SAS System is
  not sufficient to establish that each nonliteral element of
  the SAS System is protectable. See Feist Publications, Inc.
  v. Rural Tel. Serv. Co., 499 U.S. 340, 348 (1991) (“The mere
  fact that a work is copyrighted does not mean that every
  element of the work may be protected.” (emphasis added)).
  Evidence of a timely obtained copyright registration only
  creates a rebuttable presumption of copyrightability and
  validity. Norma Ribbon & Trimming, Inc. v. Little, 51 F.3d
  45, 47 (5th Cir. 1995); see also Gen. Universal Sys., Inc. v.


       5  SAS also challenges the district court’s rulings on
  evidentiary issues relating to the testimony of its fact wit-
  ness, Mr. Collins. Appellant’s Br. 6–7, 59–64. In light of
  our decision regarding copyrightability, it is unnecessary
  to address these issues.
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  Lee, 379 F.3d 131, 141 (5th Cir. 2004) (per curiam) (“A cer-
  tificate of registration, if timely obtained, is prima facie ev-
  idence both that a copyright is valid and that the registrant
  owns the copyright.”).
       The district court correctly determined that, through
  evidence of valid copyright registrations, SAS established
  a required threshold of protectability. EDTX Action, at
  1027. Consequently, it became WPL’s burden to establish
  what, if any, elements of the copyrighted work are not pro-
  tected. WPL showed that at least a substantial portion of
  the allegedly infringed elements of the SAS System are not
  protectable by copyright. Id. at 1027–28. At that point, the
  district court correctly provided SAS with an opportunity
  to identify the constituent elements of the work that are
  protectable. Eng’g Dynamics, 26 F.3d at 1340; Compulife,
  959 F.3d at 1306. But SAS apparently failed or refused to
  do so. EDTX Action, at 1027. Instead, SAS steadfastly as-
  serted that the SAS works were creative and that it had
  provided “repeated evidence of factual copying,” but SAS
  failed to rebut WPL’s assertion and did not otherwise pro-
  vide evidence in relation to the “filtration” step under the
  three-part test. Id. at 1027–28.
      As the district court correctly explained, copyright pro-
  tectability “consists of the absence of the various species of
  unprotectability.” Id. at 1027 (quoting Compulife, 959 F.3d
  at 1305). To be clear, in some instances, as in factual com-
  pilations, the selection and arrangement of unprotectable
  elements may exhibit creative expression and be eligible
  for protection. S. Credentialing Support Servs., LLC v.
  Hammond Surgical Hosp., LLC, 946 F.3d 780, 783–84 (5th
  Cir. 2020). 6 As the district court found, SAS did not show



      6    The dissent faults the district court for not address-
  ing in its decision the selection and arrangement of the pro-
  gram elements. Diss. Op. at 15. This point overlooks that,
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  that its program was eligible for protection at any level of
  abstraction. See EDTX Action, at 1028.
      The dissent contends that the district court and major-
  ity erroneously import an infringement analysis to deter-
  mine copyrightability. See Diss. Op. at 8–9. We disagree.
  As demonstrated in this opinion, a key step prior to engag-
  ing in an infringement analysis is to determine which ele-
  ments of the asserted material are copyrightable. See


  in a copyright infringement action, when contrary evidence
  shows that not all material asserted is entitled to copyright
  protection, the copyright holder bears the burden to estab-
  lish via evidence that such challenged material is entitled
  to copyright protection. This principle would apply under
  the abstraction-filtration-comparison test or under the se-
  lection, combination, and arrangement test. But SAS
  failed to proffer rebuttal copyrightability evidence respec-
  tive to the selection or arrangement of the program ele-
  ments. Consequently, the court’s copyrightability analysis
  would yield the same conclusion under either test. The
  case cited by the dissent does not alter these circum-
  stances. See, e.g., Appellee’s Br. 47. The dissent cites,
  Feist, for the “selection, combination, and arrangement”
  test but the court also explained that “[n]ot every selection,
  coordination, or arrangement will pass muster.” 499 U.S.
  at 358. In addition, Feist did not involve computer code.
  Instead, the question there was whether a “typical tele-
  phone directory” or “white pages” was eligible for copyright
  protection. Id. at 342. The Court held that the directory
  was not copyright protectable, noting that “facts are not
  copyrightable” and the selection and arrangement of the
  white pages did not meet the statutory standard for copy-
  right protection. Id. at 345, 362. Indeed, the Court ex-
  plained that “[t]he mere fact that a work is copyrighted
  does not mean that every element of the work may be pro-
  tected.” Id. at 348. The principle equally applies in this
  case.
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  Eng’g Dynamics, 26 F.3d at 1340 (“To establish copyright
  infringement, a plaintiff must prove ownership of a valid
  copyright and copying of constituent elements of the work
  that are copyrightable.” (emphasis added) (internal cita-
  tions omitted); see, e.g., 4 NIMMER § 13.03[F][1][b]
  (“[B]efore evaluating substantial similarity, it is necessary
  to eliminate from consideration those elements of a pro-
  gram that are not protected by copyright.” (footnotes omit-
  ted)).
      We hold that where the court has received persuasive
  evidence that the asserted elements are copyright unpro-
  tectable, SAS, as the copyright holder, was obligated to
  identify with specificity the elements of the SAS program
  that it asserts as copied and to establish that those ele-
  ments fall within the scope of protection extended to such
  elements under copyright law. Under these circumstances,
  the district court correctly determined that SAS did not
  meet its burden.
                        Copyrightability Hearing
       SAS contends that the district court erred by creating
  a novel procedure, a “Copyrightability Hearing.” Appel-
  lant’s Br. 4, 43–46. More precisely, SAS contends that the
  adopted procedure is inconsistent with at least Federal
  Rules of Civil Procedure (“FRCP”) 52 and 56 because the
  district court was wrong to use the procedure as a basis to
  deny the cross motions for summary judgment and dismiss
  its case. Id. 7 We disagree.



      7   Although infringement is a question of fact, it can
  be determined as a matter of law on summary judgment.
  Indeed, SAS filed a motion for summary judgment on in-
  fringement. In some cases, the court makes this determi-
  nation when the similarity between the works only
  pertains to non-copyrightable elements. Lee, 379 F.3d at
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      The Copyrightability Hearing took the form of a pre-
  trial conference, where the district court provided the par-
  ties notice and opportunity to brief, argue, and present
  evidence on the legal question of copyrightability. See Ce-
  lotex Corp. v. Catrett, 477 U.S. 317, 326 (1986). Such pro-
  cedures are well-supported by the Federal Rules of Civil
  Procedure and within the district courts’ discretion to man-
  age pre-trial matters under Fifth Circuit case law. See Fed.
  R. Civ. P. 16(c)(2)(L); see also Acuna v. Brown & Root Inc.,
  200 F.3d 335, 340 (5th Cir. 2000). 8 Fifth Circuit law on this



  142 n.18 (citing Herzog v. Castle Rock Ent., 193 F.3d 1241,
  1247 (11th Cir. 1999)).
      8    Consider that district courts in the Fifth Circuit
  have invoked FRCP 16(c)(2)(L) to support pre-discovery
  identification in trade secret cases. StoneEagle Servs., Inc.
  v. Valentine, No. 3:12-cv-1687, 2013 WL 9554563, at *3
  (N.D. Tex. June 5, 2013) (citing United Servs. Auto. Ass’n
  v. Mitek Sys., Inc., 289 F.R.D. 244, 248 (W.D. Tex. 2013));
  see also Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 593
  n.13 (2007) (Stevens, J., dissenting). Under the guidelines
  of the Sedona Conference, parties must identify the as-
  serted secret “at a level of particularity that is reasonable
  under the circumstances.” Principle No. 3 & Guideline 2,
  The Sedona Conference Commentary on the Proper Identi-
  fication of Asserted Trade Secrets in Misappropriation
  Cases, 22 SEDONA CONF. J. 236–41 (2021). Relatedly, in
  patent cases before the District Court of Delaware, “Section
  101 Days” and “omnibus” hearings are held, both of which
  are special procedures designed to increase efficiency in pa-
  tent litigation for Rule 12 motions by weeding out infirm
  cases. Order, Arendi S.A.R.L. v. HTC Corp., C.A. 12-1600
  (D. Del. Dec. 15, 2020). Other courts, like the Northern
  District of California and Western District of Tennessee,
  have held special hearings and conferences to assist with
  understanding the technology at issue and narrowing the
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  point is consistent with the FRCP, which explicitly author-
  izes district courts to adopt mechanisms such as the proce-
  dure implemented in this case. Fed. R. Civ. P. 16(c)(2)(L).

      Appellate courts have long held that district courts
  have discretion to conduct reasonable pretrial procedures
  and case management to narrow the issues and “simplify
  the mechanics.” Pac. Indem. Co. v. Broward Cnty., 465
  F.2d 99, 103 (5th Cir. 1972); Rosario-Diaz v. Gonzalez, 140
  F.3d 312, 315 (1st Cir. 1998). This would include where
  “the issue of protectability can be more efficiently ad-
  dressed” before determining copying. Gates Rubber Co., 9
  F.3d at 833. Since SAS failed to provide evidence on which
  of the challenged elements of the SAS System were copy-
  rightable, the district court correctly found that a jury
  would be unable to conduct a proper infringement analysis.
  EDTX Action, at 1027–28; Appellee’s Br. 18 (citing Conf.
  J.A. 13659–60). Accordingly, we discern no abuse of discre-
  tion in the procedural mechanism it used to understand
  and manage the copyrightability issue prior to trial. 9




  number of patent claim terms for construction. See gener-
  ally N.D. Cal. LPR 4 & LR 16-10; Tenn. LPR 2 & LR 16.1.
       9    Similarly, in patent law, it “has long been under-
  stood that a patent must describe the exact scope of an in-
  vention and its manufacture to ‘secure to [the patentee] all
  to which he is entitled, [and] to apprise the public of what
  is still open to them.’” Markman v. Westview Instruments,
  Inc., 517 U.S. 370, 373 (1996) (citations omitted). We have
  thus recognized dismissal of an action when a party fails to
  present claim construction or infringement theories. See
  Traxcell Techs., LLC v. Sprint Commc’ns Co., 15 F.4th
  1121, 1130 (Fed. Cir. 2021) (affirming summary judgment
  because Appellant didn’t explain how its “listing of accused
  elements” met the court’s claim construction and its
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                          Expert Testimony
       SAS contends that the district court erred in excluding
  its experts’ testimony. Appellant’s Br. 9, 35, 59–64.
       An expert report that is unreliable or unhelpful to the
  jury may be excluded under Federal Rule of Evidence
  702(a). We review a district court’s exclusion of an expert
  report for abuse of discretion. Kumho Tire Co., Ltd. v. Car-
  michael, 526 U.S. 137, 141–42 (1999). Similarly, we review
  a district court’s dismissal of a case based on a party’s fail-
  ure to obey court orders or discovery rules—including
  FRCP 26, 37, and 41—for abuse of discretion. United
  States v. Reyes, 307 F.3d 451, 458 (6th Cir. 2002). District
  courts have the inherent power to control the disposition of
  litigation. Landis v. North Am. Co., 299 U.S. 248, 254
  (1936).




  “unexplained listing of accused elements that purportedly
  [infringe]. . . is insufficient to create a genuine issue of ma-
  terial fact”); Enzo Biochem, Inc. v. Applera Corp., 599 F.3d
  1325, 1337 (Fed. Cir. 2010) (finding that nonmovant must
  set forth specific facts to survive summary judgment, and
  conclusory allegations or denials in its pleadings are insuf-
  ficient); Novartis Corp. v. Ben Venue Lab’ys, Inc., 271 F.3d
  1043, 1054 (Fed. Cir. 2001) (affirming summary judgment
  of noninfringement because “it was Novartis’s obligation to
  set forth the detailed basis of its evidence” and “without
  such basis in the record, we must regard [the expert’s] opin-
  ion as no more than theoretical speculation raising, at best,
  a metaphysical doubt as to the material facts” (citation
  omitted)). In copyright cases, other circuits have affirmed
  the district court’s grant of summary judgment to the de-
  fendant where the copyright holder failed to present a fil-
  tration analysis or meet its burden. See generally R. C.
  Olmstead, Inc. v. CU Interface, LLC, 606 F.3d 262, 272,
  275–76 (6th Cir. 2010).
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       Throughout this case, the district court insisted that
  SAS identify its infringement theory with specificity. See,
  e.g., J.A. 3316. Instead of identifying and asserting specific
  protectable elements of the SAS System, SAS relied on ab-
  stract definitions of Input Formats and Output Designs. In
  addition, SAS’s expert’s analysis also included clearly un-
  protectable elements. EDTX Action, 1028–29.
      SAS does not appear to dispute that its expert did not
  conduct the filtration analysis that the district court
  adopted. Appellant’s Br. 35, 59–60. Indeed, SAS’s expert
  either refused or was unable to assist the court in clarifying
  the core of protectable expression that SAS believed was
  entitled to copyright protection. SAS’s repeated claims
  that the asserted elements were creative were insufficient.
      It is not enough to simply point to asserted elements
  and declare them protectable because they are creative or
  because other choices exist. Such an interpretation turns
  the Copyright Act on its head because it renders superflu-
  ous the requirement to prove that material a defendant is
  alleged to have copied constitutes protected expression.
  Guzman v. Hacienda Records & Recording Studio, 808
  F.3d 1031, 1037 (5th Cir. 2015). It ignores that the Act
  protects “original works of authorship fixed in any tangible
  medium of expression.” 17 U.S.C. § 102(a).
       Courts typically receive guidance from the parties’ ex-
  perts on the application of the abstraction-filtration-com-
  parison test to the relevant computer programs. Gates
  Rubber Co., 9 F.3d at 834–35. A court may reasonably
  adopt an analysis to determine what the “core of protecta-
  ble expression” is to provide the jury with accurate ele-
  ments to compare in its role of determining whether
  infringement has occurred. Oracle, 750 F.3d at 1358.
  Here, the district court appropriately exercised its author-
  ity and discretion in finding that SAS’s expert engaged in
  “egregious conduct” and his report was unreliable because
  it failed to filter out unprotectable elements as ordered by
  the court, thereby rendering the opinion “unhelpful” to the
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  jury. EDTX Action, at 1028. Under these circumstances,
  as to the issue of copyrightability, the expert opinion
  amounted to no more than theoretical speculation.
      The district court was correct to exercise its authority
  and require SAS to articulate a legally viable theory on
  which it expected to base its copyright infringement claims.
  Conversely, it would be improper for a district court to per-
  mit a matter to proceed to trial on the basis of vague and
  unidentified theories. See Novartis Corp. v. Ben Venue La-
  boratories, Inc., 271 F.3d 1043, 1054 (Fed. Cir. 2001).
  Thus, when SAS declined to make any further showing on
  copyrightability, the district court properly dismissed
  SAS’s claims. We see no basis to conclude that the district
  court’s decision to strike the expert report was manifest or
  “plain and indisputable” error.
                            CONCLUSION
       The district court correctly determined as a matter of
  law that SAS failed to establish that the elements it as-
  serted to have been infringed were copyrightable expres-
  sions. The district court acted within its authority and
  discretion in its reliance on the abstraction-filtration-com-
  parison test and Copyrightability Hearing to assist it in its
  analysis of the scope of copyright protection. The district
  court did not abuse its discretion in its rejection of SAS’s
  expert. Accordingly, the judgment of the district court is
  affirmed.
                           AFFIRMED
                               COSTS
  No costs.
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    United States Court of Appeals
        for the Federal Circuit
                   ______________________

                  SAS INSTITUTE, INC.,
                    Plaintiff-Appellant

                              v.

          WORLD PROGRAMMING LIMITED,
                 Defendant-Appellee
               ______________________

                         2021-1542
                   ______________________

     Appeal from the United States District Court for the
  Eastern District of Texas in No. 2:18-cv-00295-JRG, Chief
  Judge J. Rodney Gilstrap.

                   ______________________

  NEWMAN, Circuit Judge, dissenting.
      SAS Institute’s computer programs, entitled “SAS Sys-
  tem” and “SAS Language,” are software-implemented pro-
  grams for data and statistical analysis. SAS has several
  registered copyrights on these programs. The court today
  holds that these software programs are not copyrightable.
  This is a far-reaching change. I respectfully dissent.
      SAS sued World Programming Limited (“WPL”) for pa-
  tent and copyright infringement (and other counts). Only
  copyright issues were decided and are the subject of this
  appeal; these counts were decided after a “Copyrightability
  Hearing” in the district court. The court held the SAS
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  computer programs uncopyrightable, for the reason that
  they contain “nonliteral elements” that SAS had not shown
  to be separately copyrightable. 1 The district court identi-
  fied the nonliteral elements as “unprotectable open source
  elements; factual and data elements; elements not original
  to SAS; mathematical and statistical elements; process,
  system, and method elements; well-known and conven-
  tional display elements, such as tables, graphs, plots, fonts,
  colors, and lines; material for which SAS Institute Inc. is
  not the author; merged elements; statistical analysis;
  scènes à faire elements; and short phrase elements.” Dist.
  Ct. Op. at 1028 (citations omitted). The court held that
  SAS did not meet its burden of “establishing which parts of
  its asserted work are, in fact, properly entitled to protec-
  tion,” and therefore that the SAS System and SAS Lan-
  guage programs “have not been shown to be copyrightable.”
  Id. at 1027, 1029.
      This holding contravenes law and precedent. The Fifth
  Circuit, whose law governs this case, wrote concerning cop-
  yright protection for computer programs:
      Most courts confronted with the issue have deter-
      mined that copyright protection extends not only to
      the literal elements of a program, i.e., its source
      code and object code, but also to its “nonliteral” el-
      ements, such as the program architecture, “struc-
      ture, sequence and organization,” operational
      modules, and computer-user interface.
  Eng’g Dynamics, Inc. v. Structural Software, Inc., 26 F.3d
  1335, 1341 (5th Cir. 1994) (referring to Comput. Assocs.
  Int’l, Inc. v. Altai, Inc., 982 F.2d 693 (2d Cir. 1992) and
  Gates Rubber Co. v. Bando Chem. Indus., 9 F.3d 823 (10th
  Cir. 1993)).



      1  SAS Inst. Inc. v. World Programming Ltd., 496 F.
  Supp. 3d 1019 (E.D. Tex. 2020) (“Dist. Ct. Op.”).
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      The district court invalidated the SAS copyrights on
  these computer programs, and the panel majority agrees.
  I respectfully dissent, for this ruling contravenes the Cop-
  yright Act and departs from the long-established precedent
  and practice of copyrightability of computer programs.
                            DISCUSSION
       This appeal solely concerns the question of copyrighta-
  bility. Copying is conceded, and the district court observed
  that “WPL’s business was to ‘clone’ the SAS Software.”
  Dist. Ct. Op. at 1023. However, the court held, and my col-
  leagues agree, that the programs are not subject to copy-
  right.
                                 I
         Copyrightability of Computer Programs
      The question of copyright protection of computer pro-
  grams came to legislative attention some fifty years ago, as
  new technologies were producing new forms of expression,
  and achieving economic and societal importance. In 1974,
  Congress established the National Commission on New
  Technological Uses of Copyrighted Works (“CONTU”) to
  study and inform national policy, for “the universe of works
  protectible by statutory copyright has expanded along with
  the imagination, communications media, and technical ca-
  pabilities of society.” CONTU Final Report (July 31, 1978),
  at 11.
      The CONTU considered the public and private inter-
  ests in computer programs, in light of the constitutional
  purpose of copyright to foster creative activity and com-
  merce. The CONTU observed that computer programs are
  “the product of great intellectual effort and their utility is
  unquestionable,” and concluded that protection from copy-
  ing is “necessary to encourage the creation and broad dis-
  tribution of computer programs in a competitive market.”
  Id.
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      In 1976 the Copyright Act was amended to enlarge the
  definition of “literary works” to include new forms and me-
  dia of expression. The following definition was enacted:
      17 U.S.C. § 101. Definitions . . .
      “Literary works” are works, other than audiovisual
      works, expressed in words, numbers, or other ver-
      bal or numerical symbols or indicia, regardless of
      the nature of the material objects, such as books,
      periodicals, manuscripts, phonorecords, film,
      tapes, disks, or cards, in which they are embodied.
  The accompanying House Report explained:
      The term “literary works” does not connote any cri-
      terion of literary merit or qualitative value: it in-
      cludes . . . computer data bases, and computer
      programs to the extent that they incorporate au-
      thorship in the programmer’s expression of original
      ideas, as distinguished from the ideas themselves.
  H.R. Rep. No. 94-1476, at 54 (1976), reprinted in 1976
  U.S.C.C.A.N. 5659, 5667. The House Report stated that
  the purpose of the amendment was to assure that new
  forms of works of authorship are subject to the laws of cop-
  yright. Id. at 51–52.
      In 1980 the Copyright Act was again amended, to
  “eliminate[] confusion about the legal status of computer
  software” and to assure protection of computer programs in
  the same way as literary works are protected. Statement
  of House Judiciary Subcommittee Chairman Kastenmeier,
  126 Cong. Rec. H10767 (daily ed. Nov. 17, 1980). The defi-
  nition of “computer program” was added to the statute:
      17 U.S.C. § 101. Definitions . . .
      A “computer program” is a set of statements or in-
      structions to be used directly or indirectly in a com-
      puter in order to bring about a certain result.
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  Other relevant provisions include:
      17 U.S.C. § 102(a). Copyright protection sub-
      sists . . . in original works of authorship fixed in
      any tangible medium of expression . . . from which
      they can be perceived, reproduced, or otherwise
      communicated, either directly or with the aid of a
      machine or device.
  The distinction between copyrightable and patentable sub-
  ject matter was recited in § 102(b), for this topic had re-
  ceived considerable discussion in view of the functional
  purposes served by computer programs:
      17 U.S.C. § 102(b). In no case does copyright pro-
      tection for an original work of authorship extend to
      any idea, procedure, process, system, method of op-
      eration, concept, principle, or discovery, regardless
      of the form in which it is described, explained, il-
      lustrated, or embodied in such work.
  The Supreme Court referred to this distinction in Google
  LLC v. Oracle America, Inc., 141 S. Ct. 1183 (2021), stating
  that “unlike patents, which protect novel and useful ideas,
  copyrights protect ‘expression’ but not the ‘ideas’ that lie
  behind it.” Id. at 1196. The Court observed that “Congress
  expanded the reach of the Copyright Act to include com-
  puter programs,” id., and explained that computer pro-
  grams, like other literary works, are subject to “the
  ordinary application of copyright’s limiting doctrines,” id.
  at 1199, in that case the doctrine of fair use.
      Other provisions of the Copyright Act were also
  amended in light of perceived issues related to computer
  programs, for example: 17 U.S.C. § 109(b)(1)(A) (“transfer
  of possession of a lawfully made copy of a computer pro-
  gram”); 17 U.S.C. § 110(11) (private home viewing of por-
  tions of a motion picture); 17 U.S.C. § 117 (“Limitations on
  exclusive rights: Computer programs”); 17 U.S.C. §
  121(b)(2) (an exception for computer programs); and 17
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  U.S.C. § 506(a)(3)(A) (criminal infringement of computer
  programs). See generally Sega Enters. Ltd. v. Accolade,
  Inc., 977 F.2d 1510, 1519 (9th Cir. 1993) (“As recommended
  by [the CONTU], the 1980 amendments to the Copyright
  Act unambiguously extended copyright protection to com-
  puter programs.”). The Nimmer treatise summarizes:
      The Computer Software Copyright Act of 1980
      adds to the Copyright Act an explicit definition for
      “computer program.” Its legislative history speci-
      fies that the amendment “has the effect of clearly
      applying the 1976 law to computer programs . . . .”
      That amendment dispels any lingering doubts as to
      the copyrightability of computer programs. It is
      therefore now firmly established that computer
      programs qualify as work of authorship in the form
      of literary works, subject to full copyright protec-
      tion.
  1 NIMMER ON COPYRIGHT § 2A.10(B) (2022 ed.).
  However, the district court held that the SAS computer
  programs are not copyrightable, because they contain non-
  literal elements that were generally known and inade-
  quately distinguished. That is not the law. As explained
  in Feist Publications, Inc. v. Rural Telephone Service Co.,
  499 U.S. 340, 348 (1991), the “selection and arrangement”
  of known elements is protectable by copyright.
      Precedent has reinforced the copyrightability of com-
  puter programs that combine known elements in new ar-
  rangements. In Atari Games Corp. v. Oman, the D.C.
  Circuit held that the creative “choice and ordering” of
  known elements is copyrightable. 979 F.2d 242, 245 (D.C.
  Cir. 1992). In Engineering Dynamics, the Fifth Circuit ex-
  plained that the “input formats” and “output reports” there
  at issue are copyrightable. 26 F.3d at 1346. In Altai the
  Second Circuit stated:
      [I]f the non-literal structures of literary works are
      protected by copyright; and if computer programs
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      are literary works, as we are told by the legislature;
      then the non-literal structures of computer pro-
      grams are protected by copyright.
  982 F.2d at 702 (citation omitted).
  In General Universal Systems, Inc. v. Lee, 379 F.3d 131 (5th
  Cir. 2004) the court reiterated that copyright protection ap-
  plies to all the elements of a computer program, literal and
  nonliteral:
      It is settled that computer programs are entitled to
      copyright protection. This protection extends not
      only to the “literal” elements of computer soft-
      ware—the source code and object code—but also to
      a program’s nonliteral elements, including its
      structure, sequence, organization, user interface,
      screen displays, and menu structures.
  Id. at 142. The Fifth Circuit again referred to the “selection
  and arrangement of information” in Southern Credential-
  ing Support Services, L.L.C. v. Hammond Surgical Hospi-
  tal, L.L.C., 946 F.3d 780 (5th Cir. 2020), stating that
  “[a]lthough laws and hospital policies dictate the contents
  of the credentialing forms, Southern Credentialing’s
  unique selection and arrangement of information exhibit
  creative expression.” Id. at 784.
      The district court, and now my colleagues, did not ap-
  ply the correct law. The existence of possible infringement
  defenses based on the extent of copying does not negate
  copyrightability of the work. As stated in Feist, “a work
  formed by the collection and assembling of preexisting ma-
  terials or of data that are selected, coordinated, or arranged
  in such a way that the resulting work as a whole consti-
  tutes an original work” is protectable by copyright. 499
  U.S. at 356 (quoting 17 U.S.C. § 101) (emphasis in origi-
  nal). See also Softel, Inc. v. Dragon Med. & Sci. Commc’ns,
  Inc., 118 F.3d 955, 964 (2d Cir. 1997) (“[T]aken individu-
  ally, the words that constitute a literary work are not
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  copyrightable, yet this fact does not prevent a literary text,
  i.e., a collection of words, from enjoying copyright protec-
  tion.”).
      “[C]opyrighted works have a certain synergy in that
  the sum of their unprotected elements may be a protectible
  whole.” GNU Bus. Info. Sys., Inc. v. The Soc. Sec’y, Ltd.,
  1993 WL 469919, at *2 (N.D. Ill. Nov. 12, 1993) (citing
  Brown Bag Software v. Symantec Corp., 960 F.2d 1465,
  1476 n.4 (9th Cir. 1992)). In Feist, the Court held that
  when the selection and arrangement of individually unpro-
  tectable elements “entail a minimal degree of creativity,”
  the work is copyrightable although the separate elements
  are not, and that “even a directory that contains absolutely
  no protectible written expression, only facts, meets the con-
  stitutional minimum for copyright protection if it features
  an original selection or arrangement.” 499 U.S. at 348.
       It is beyond debate that the inclusion of nonliteral ele-
  ments does not negate copyrightability of the work. Here,
  the district court acknowledged that “copyrightable works
  may contain both protectible and unprotectible elements.”
  Dist. Ct. Op. at 1021 (referencing Feist, 499 U.S. at 344).
  However, the district court applied a 3-phase “abstraction-
  filtration-comparison” test that had been developed for de-
  terminations of infringement and held that the SAS com-
  puter programs are not protectable by copyright because
  they contain nonliteral elements that should be “filtered.”
       Copyrightability is a different question from infringe-
  ment and is determined on different legal principles. The
  presence of nonliteral elements in a computer program
  may be relevant to determining infringement, and indeed
  the district court recognized filtration as “assessing in-
  fringement of non-literal elements,” Dist. Ct. Op. at 1022,
  citing the Fifth Circuit’s observation that the purpose of fil-
  tering out unprotectable elements of the program is “to de-
  termine whether the defendants have misappropriated
  substantial elements of the plaintiff's program,” Eng’g
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  Dynamics, 26 F.3d at 1343 (quoting Gates Rubber, 9 F.3d
  at 834).
      Nonetheless, the district court and the panel majority
  apply the filtration analysis to determine copyrightability.
  This is error, for as the Second Circuit stated, the filtration
  analysis serves “to determine whether the non-literal ele-
  ments of two or more computer programs are substantially
  similar.” Altai, 982 F.2d at 706; see also Gates Rubber, 9
  F.3d at 830 (infringement requires “a determination of
  whether there was copying and a determination of whether
  the copying constitutes actionable infringement through
  application of the abstraction-filtration-comparison test”).
       Only copyrightability was at issue in the Copyrighta-
  bility Hearing. At the hearing, WPL stated that the pres-
  ence of nonliteral elements negated copyrightability of the
  entire program unless each nonliteral element is sepa-
  rately copyrightable. The district court asked the SAS ex-
  pert to “identify the constituent elements of the work that
  are protectable.” Maj. Op. at 17. The SAS expert declined
  to distinguish the program elements on this ground, stat-
  ing that copyrighted programs can include both literal and
  nonliteral elements and do not require showing separate
  distinctiveness of the nonliteral elements in order to
  achieve copyrightability of the entire program.
      The district court disagreed with this position and held
  that SAS’s “failure to filter out unprotectable elements re-
  sulted in an improper comparison of unprotectable ele-
  ments to the accused products,” and that “SAS has not
  shown the existence and extent of any remaining protecta-
  ble work.” Dist. Ct. Op. at 1028. The district court called
  the nonliteral elements “species of unprotectability,” and
  held that the presence of such elements negated copyright-
  ability of the program as a whole, requiring the copyright
  holder to sort out which separate elements are protectable.
  Id. Precedent is contrary. See Apple Barrel Prods., Inc. v.
  Beard, 730 F.2d 384, 388 (5th Cir. 1984) (“The mere fact
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  that component parts of a collective work are neither orig-
  inal to the plaintiff nor copyrightable by the plaintiff does
  not preclude a determination that the combination of such
  component parts as a separate entity is both original and
  copyrightable.”).
      SAS states that its programs include the selection and
  assembly of literal and nonliteral elements, and that there
  are “a large number of choices among” possible Input For-
  mats and “an infinite number of” possible Output Designs.
  SAS Br. 48. SAS compares this to the “multitude of differ-
  ent ways to generate a data stream” in Atari Games Corp.
  v. Nintendo of America Inc., 975 F.2d 832, 840 (Fed. Cir.
  1992). SAS Br. 49 (also citing Compaq Comput. Corp. v.
  Procom Tech. Inc., 908 F. Supp. 1409, 1418 (S.D. Tex. 1995)
  (discussing “the requisite degree of creativity and judg-
  ment necessary to protect [a] compilation”)). In Engineer-
  ing Dynamics, the Fifth Circuit concluded that “[t]he
  creativity inherent in EDI’s program is proved by the exist-
  ence [of] other, dissimilar structural engineering programs
  available in the market.” 26 F.3d at 1346.
       The Federal Circuit applied this rule in Oracle Amer-
  ica, Inc. v. Google, Inc.:
       Because Oracle “exercised creativity in the selec-
       tion and arrangement” of the method declarations
       when it created the API packages and wrote the
       relevant declaring code, they contain protectable
       expression that is entitled to copyright protection.
  750 F.3d 1339, 1363 (Fed. Cir. 2014) (citing Atari, 975 F.2d
  at 840).
      Only copyrightability is before us on this appeal. Based
  on statute and clear precedent the SAS programs are cop-
  yrightable as a matter of law. The district court appears to
  have inappropriately relied on issues of the burden of proof,
  as I next discuss.
                                   II
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                        The Burden of Proof
      The Copyright Act provides that timely registration is
  prima facie evidence of a valid copyright:
      17 U.S.C. § 410(c). In any judicial proceedings the
      certificate of a registration made before or within
      five years after first publication of the work shall
      constitute prima facie evidence of the validity of the
      copyright and of the facts stated in the certificate.
  The accompanying House Report explains that the stat-
  ute’s prima facie validity “orders the burdens of proof.”
  H.R. Rep. No. 94-1476, at 157. See Compulife Software Inc.
  v. Newman, 959 F.3d 1288, 1305 (11th Cir. 2020) (“[P]lac-
  ing the burden to prove protectability on the infringement
  plaintiff would unfairly require him to prove a negative.”).
  The court in Compulife observed that the “mere failure of
  the plaintiff to present evidence of protectability—assum-
  ing that a valid copyright and factual copying have already
  been established—isn’t a sufficient reason to give judgment
  to the defendant.” Id. at 1306. The district court took the
  contrary position, and held that SAS’s failure to present
  evidence of protectability required judgment in favor of
  WPL, Dist. Ct. Op. at 1028–29, even as the district court
  acknowledged that “SAS showed that it holds a registered
  copyright, amply argued that its asserted works are crea-
  tive, and presented repeated evidence of factual copying.
  Accordingly, SAS shifted the burden to WPL.” Id. at 1027.
      Precedent illustrates the statutory placement on the
  accused infringer of the burden of negating copyrightabil-
  ity. See, e.g., Brocade Commc’ns Sys. Inc. v. A10 Networks
  Inc., 2011 WL 7563043, at *2 (N.D. Cal. Aug. 16, 2011) (The
  § 410 presumption “shifts the burden to [defendant] to re-
  but that the allegedly copied elements are not protectable
  expression.”); see Norma Ribbon & Trimming, Inc. v. Little,
  51 F.3d 45, 47 (5th Cir. 1995) (copyright registration cre-
  ates a rebuttable presumption of copyright validity).
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      For the SAS programs, the district court found that
  SAS “amply argued that its asserted works are creative,”
  Dist. Ct. Op. at 1027, and the court acknowledged that the
  copyright statute provides a rebuttable presumption of cop-
  yrightability. However, the court found the presumption
  was rebutted by WPL identifying the nonliteral elements
  as including all the program elements except the codes, and
  the court shifted to SAS the burden to come forward with
  evidence that the nonliteral elements are independently
  copyrightable. The district court rejected the SAS expert’s
  advice that such analysis does not comport with statute
  and copyright principles, and excluded the SAS expert’s
  testimony.
        SAS states that this exclusion prejudiced its ability to
  respond to WPL’s arguments. For example, WPL stated
  that the SAS Language program is in the public domain,
  and the district court held that SAS did not meet its burden
  of establishing otherwise. SAS states in its appellate brief,
  without contradiction from WPL, that “WPL did not copy
  the 1976 version of the SAS System. . . . [I]t copied all of
  the enhancements and new material that SAS spent 45
  years developing up to the present day.” SAS Br. 51. SAS
  cites 17 U.S.C. § 103(b) for the principle that “copyright in
  a derivative work extends ‘to the material contributed by
  the author of such work, as distinguished from the preex-
  isting material employed in the work,’ and is ‘independent
  of . . . any copyright protection in the preexisting material.’”
  SAS Br. 51. SAS also points out that WPL’s expert on
  cross-examination supported the SAS position, for the
  WPL expert conceded that the “actual Input Formats, in-
  cluding the complex hierarchies discussed above, had ‘all
  changed, at least the ones [he] examined.’” Id. at 52 (quot-
  ing Appx602:5–10).
      Similarly for nonliteral elements that are “scènes à
  faire:” this distinction “den[ies] protection to those expres-
  sions that are standard, stock, or common to a particular
  topic or that necessarily follow from a common theme or
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  setting,” Gates Rubber, 9 F.3d at 838, or elements that are
  “dictated by external factors” such as “hardware standards
  and mechanical specifications, . . . software standards and
  compatibility requirements, . . . computer manufacturer
  design standards, target industry practices and de-
  mands, . . . and computer industry programming prac-
  tices.” Id.
       The WPL expert conceded that he did not attempt to
  “provide a list of all scènes à faire elements that are in the
  SAS System.” SAS Br. 57 (quoting Appx3514:18–20). SAS
  argues that WPL’s expert was unable “to show that the en-
  tirety of any Input Format or Output Design was nothing
  but a stock element,” id., and that the WPL expert testi-
  mony again supported the SAS position. However, the dis-
  trict court cited the WPL expert’s testimony as establishing
  uncopyrightability because it was unrebutted by SAS—
  although the SAS expert’s testimony was excluded by the
  court. The panel majority accepts this strained conclusion,
  without analysis.
      Similarly for WPL’s reliance on “merger” to establish
  unprotectable program elements: “Under the merger doc-
  trine, copyright protection is denied to expression that is
  inseparable from or merged with the ideas, processes, or
  discoveries underlying the expression.” Gates Rubber, 9
  F.3d at 838. However, as stated in Atari, if “alternate ex-
  pressions are available” merger does not apply. 975 F.2d
  at 840. WPL does not contradict the SAS position that
  “countless options were available.” SAS Br. 58 (citing com-
  peting commercial programs). Nonetheless the district
  court, and now my colleagues, accept that “merger” negates
  copyrightability of the entirety of the SAS System and SAS
  Language programs.
     Similar flaws accompany the references to the “short
  phrases doctrine” as negating copyrightability. “Copyright
  does not protect individual words and ‘fragmentary’
  phrases when removed from their form of presentation and
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  compilation.” Hutchins v. Zoll Med. Corp., 492 F.3d 1377,
  1385 (Fed. Cir. 2007). “Although the compilation of public
  information may be subject to copyright in the form in
  which it is presented, the copyright does not bar use by oth-
  ers of the information in the compilation.” Id. (citation
  omitted). The right of others to use nonliteral elements in
  other contexts and other combinations does not negate cop-
  yrightability of the programs of which they are elements.
      Similarly, for the mathematical formulas and statisti-
  cal methods included in the SAS programs, copyrightabil-
  ity of the programs is not concerned with whether the
  mathematical formulas and analytic methods are original,
  but with their inclusion in the combination and arrange-
  ment as components of the programs.
      SAS states that its responses on these aspects were not
  considered because the district court excluded the SAS ex-
  pert’s testimony, as “the district court acknowledged that
  excluding SAS’s ‘only technical expert’ devastated SAS’s
  case.” SAS Br. 64 (citing Dist. Ct. Op. at 1029 n.11 (“[H]is
  exclusion has the practical effect of leaving SAS without
  any supportable copyright claims.”)). SAS states that the
  district court “made no effort to apply [the limiting] doc-
  trines to the law or facts of this case, nor to decide whether
  WPL’s assertions about them were correct.” SAS Br. 51.
      WPL defends the district court’s analysis, and also
  states that it is an “open question whether copyright in a
  computer program reaches outputs.” WPL Br. 52. That
  statement does not match precedent. See Eng’g Dynamics,
  26 F.3d at 1342 (“There is no intuitive reason why the anal-
  ysis should be any different for output formats.”); Johnson
  Controls, Inc. v. Phoenix Control Sys., Inc., 886 F.2d 1173,
  1175 & n.3 (9th Cir. 1989) (“A computer program is made
  up of several different components, including . . . the user
  interface,” which “is generally the design of the video
  screen and the manner in which information is presented
  to the user.”).
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       The panel majority does not discuss the selection, com-
  bination, and arrangement of the program elements, alt-
  hough this is a foundation of software copyrightability, as
  illustrated in precedent, policy, and public understanding. 2
  Nor does the panel majority resolve the issues raised with
  respect to the burden of proof. The legal and policy prem-
  ises of copyrightability of computer programs have hereto-
  fore been settled; there is no cause for judicial initiative to
  disrupt this important area of commercial and societal in-
  terest. I respectfully dissent.




      2    Numerous amici curiae contributed briefs, whose
  positions reflect the difference between proponents of crea-
  tors’ rights and of copiers’ rights. Amici in support of SAS
  are: (1) American Photographic Artists, American Society
  of Media Photographers, Authors Guild, Inc., Digital Media
  Licensing Association, Dramatists Guild of America, Ro-
  mance Writers of America, Songwriters Guild of America,
  Textbook & Academic Authors Association; (2) The Copy-
  right Alliance; (3) Scholars of Copyright Law (Arts & En-
  tertainment Advocacy Clinic, Antonin Scalia Law School,
  George Mason University); (4) The Mathworks, Inc. and
  Oracle Corporation; (5) Ralph Oman, former Register of
  Copyrights; and (6) Computer Scientists (Williams, Lay-
  man, Sheriff). Amici in support of WPL are: (1) Electronic
  Frontier Foundation; (2) The Computer & Communications
  Industry Association; (3) 54 Computer Scientists (Intellec-
  tual Property & Technology Law Clinic, Gould School of
  Law); (4) Samuelson Law, Technology & Public Policy
  Clinic, Berkeley School of Law; and (5) Github, Inc. As the
  amici reflect, the case herein raises basic policy issues.
